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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF INDIANA
                            HAMMOND DIVISION


Mark McPhail,

                      Plaintiff,
                                              Case No. 2:22-cv-00137-TLS-APR

                                              Honorable Theresa L. Springmann
The Trustees of Indiana
University, et al.

                      Defendants.


                 REPORT OF PARTIES’ PLANNING MEETING

   1. The parties conferred under Fed. R. Civ. P. 26(f) and agreed to this report on
     July 1, 2022. Rima Kapitan participated for Plaintiff, and Kathleen Anderson
     participated for Defendants.

   2. Jurisdiction.

     The court has jurisdiction under 28 U.S.C. §§ 1331, 1343, and 1367. The
     parties agree that Plaintiff brings claims pursuant to the Constitution and
     federal statutes, and that Plaintiff ’s breach of contract and tort claims stem
     from the same alleged controversy.

   3. Pre-Discovery Disclosures.

     The parties will exchange, but may not file, Rule 26(a)(1) information by July
     22, 2022.

   4. Discovery Plan.

     The parties propose the following discovery plan.




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    Plaintiff states that he will seek discovery on the following:
    1. Indiana University’s standard policies and practices with respect to
       performance evaluation and termination,
    2. Plaintiff ’s job performance and Defendants’ evaluation thereof,
    3. The events that led to Plaintiff ’s termination,
    4. Plaintiff ’s protected activity and reactions thereto,
    5. The roles of the respective decision-makers regarding Plaintiff ’s discipline
       and termination, and
    6. Correspondence about Plaintiff and his work performance.

    Defendants state that they will seek discovery on the following:
    1. The claims set forth in Plaintiff ’s Complaint,
    2. Defendants’ defenses to Plaintiff ’s claims, including affirmative defenses,
    3. Plaintiff ’s alleged damages, and
    4. Plaintiff ’s mitigation (as applicable) of his alleged damages.

    Disclosure or discovery of electronically stored information should be handled
    as follows: After receiving requests for document production and resolving any
    objections to such requests, the parties shall search their documents and
    produce responsive documents in accordance with the Federal Rules of Civil
    Procedure. The parties agree that in responding to documents, and as
    appropriate, they will meet and confer regarding appropriate search
    methodologies for relevant and reasonably accessible documents and ESI. The
    parties will confer and work in good faith to try to resolve any differences.

    The scope of discovery or the format of the production of ESI may be limited or
    modified by Court order upon a showing of good cause or undue burden and
    expense. Further, depending upon the nature of the data produced, a
    protective order may be appropriate, as the Court may approve.

    Inadvertent Production: Under Rule 26(b)(5)(B), the inadvertent production of


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    any privileged or otherwise protected ESI or documents shall not be deemed a
    waiver or impairment of any claim of privilege or protection including but not
    limited to the attorney-client privilege or work product doctrine immunity,
    provided that the producing party promptly notifies the receiving party of the
    inadvertent production. Upon notification, the receiving party shall retrieve
    and return any such material within a reasonable time, and the receiving
    party’s counsel shall not use such information for any purpose until further
    order of the Court. Any analyses, memoranda or notes which were generated
    based upon such inadvertently produced information shall immediately be
    treated in conformance with the protected nature of the information. The
    producing party must also preserve the information until any dispute
    regarding the ESI or documents is resolved. In the interests of economy and
    swift resolution of any dispute, the scope of the discovery and the form in
    which ESI is produced may be further limited or modified by agreement by the
    parties.

    Plaintiff requests a discovery completion date of November 1, 2022.
    Defendants request a discovery completion date of March 3, 2023.

       •   Maximum of 25 interrogatories by each party to any other party.
       •   Maximum of 10 depositions by Plaintiffs and 10 (cumulative) by
           Defendants. Depositions of the opposing party’s expert witnesses or
           health care providers (as applicable) do not count toward the deposition
           limitation.
       •   The above limitations may be modified by the Court upon good cause
           shown.

    The parties must disclose the identity of any Rule 26(a)(2) witness and the
    witness’s written report (if applicable) by:

       •   December 1, 2022 for a party’s Rule 26(a)(2) disclosures; and


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       •     January 6, 2023 for rebuttal expert disclosures (responsive to the
             opposing party’s identified experts, if any).

     Rule 26(a) disclosures shall be timely supplemented according to Rule 26(e).

  5. Other Items.

    The last date the parties may seek permission to join additional parties and to
    amend the pleadings is September 4, 2022 if the Court accepts Plaintiff ’s
    proposed discovery deadline and November 30, 2022 if the Court accepts
    Defendants’ proposed fact discovery deadline.

    Any motion for summary judgment will be filed within 45 days after the
    closure of discovery. Responses are due 30 days thereafter, and replies are due
    15 days thereafter.

    The time to file Rule 26(a)(3) pretrial disclosures will be governed by separate
    order.

    Plaintiff thinks the case should be ready for jury trial by April 3, 2023.
    Defendants think the case should be ready for jury trial by October 2, 2023. At
    this time trial is expected to take approximately 5 days.

    At this time, all parties do not consent to refer this matter to the currently
    assigned Magistrate Judge pursuant to 28 U.S.C. 636(c) and Fed. R. Civ. P. 73
    for all further proceedings including trial and entry of judgment.

  6. Alternative Dispute Resolution.

    Plaintiff does not think alternative dispute resolution is appropriate at this
    time but is open to revisiting alternative dispute resolution after the parties
    have had a chance to exchange written discovery. Defendants are willing to
    have a direct dialogue with Plaintiff’s counsel and engage in alternative
    dispute resolution at the early stages of this case or any other time.


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Date: July 1, 2022

      /s/ Rima N. Kapitan                    /s/ Kathleen M. Anderson

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